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AO 245B (Rev. 09/11) Judgment in a Criminal Case

Sheet | ' F / [ c

UNITED STATES DISTRICT COURT rp 2a

 

 

 

 

 

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Southern District of Illinois SOOTHES Disra 4
) AST or'STRiI¢r o! COup
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL@, LUN
Vv. )
SCOTT T. HYDEN Case Number: 13-CR-30259-MJR
USM Number: —_11142-025
) |G. ETHAN SKAGGS
Defendant's Attorney
THE DEFENDANT:
& pleaded guilty to count(s) 3, 4 and 5 of the Indictment -
C) pleaded nolo contendere to count(s)
which was accepted by the court.
C1 was found guilty on count(s)
after a plea of not guilty. -
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 922(g)(3), 18 Possession of Firearm by User of Controlled Substance 07/13 3
U.S.C. § 924(a)(2)
21 U.S.C, § 844(a) Possession of Heroin 07/13 4
18 U.S.C. § 922(x)(1)(A), Sale, Delivery, Transfer of Handgun to a Juvenile 07/13 5
18 U.S.C. § 924(a)(6)
The defendant is sentenced as provided in pages 2 through 6 _ of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
( The defendant has been found not guilty on count(s) _ ee 7
Count(s) | and2_ 01 is & are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

October 2, 2014
Date of Imposition of Judgment
~

ym

Signature of Judge 7 bad

 

 

Michael J, Reagn, U.S. District Chief Judge
Name and Title of Judge

Delrin @, 2064

‘Date

 
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AO 245B (Rev. 09/11} Judgment in Criminal Case
Sheet 2 — Imprisonment

 

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DEFENDANT: SCOTT T. HYDEN
CASE NUMBER: 13-CR-30259-MJR

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Defendant is sentenced to a term of 33 months on Count 3, and a term of 12 months on each of Counts 4 and 5, all to be
served concurrently.

(1 The court makes the following recommendations to the Bureau of Prisons:

—] The defendant is remanded to the custody of the United States Marshal.

(1 The defendant shall surrender to the United States Marshal for this district:

CO at Oam OF pm. on

 

 

OO asnotified by the United States Marshal.

(J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

Ol before 2 p.m. on

 

] — asnotified by the United States Marshal.

1] as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on _ _ to
at _ ___, With a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/11) Judgment in a Criminal Case (Modified SDIL)
Sheet 3 — Supervised Release
Judgment—Page 3 of 6
DEFENDANT: SCOTT T. HYDEN
CASE NUMBER: 13-CR-30259-MJR

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
3 years. This term consists of a term of three years on Count 3, and a term of one year on Counts 4 and §, all such terms to run
concurrently

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 52 tests in one year.

oO The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e¢
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

O O WB

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement.
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Sheet 3C — Supervised Release
Judgment—Page 4 of 6
DEFENDANT: SCOTT T. HYDEN /
CASE NUMBER: 13-CR-30259-MJR

SPECIAL CONDITIONS OF SUPERVISION

Due to the defendant's substance abuse history and to afford adequate deterrence to criminal conduct, protect the public from further
crimes, and to provide corrective treatment (18 USC § 3553(a)(2)(B), (C), and (D)), the defendant shall participate, as directed and
approved by the probation officer, in treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis
and/or other drug detection measures and which may require residence and/or participation in a residential treatment facility, the number
of drug tests shall not exceed 52 tests in a one-year period. Any participation will require complete abstinence from all alcoholic beverages
and any other substances for the purpose of intoxication. The defendant shall pay for the costs associated with services rendered, based on
a Court approved sliding fee scale as directed by the probation officer. The defendant's financial obligation shall never exceed the total
cost of services rendered.

As the defendant is not educationally or vocationally prepared to enter the workforce and to afford adequate deterrence to criminal
conduct, protect the public from further crimes, and to provide corrective treatment (18 USC § 3553(a)(2)(B), (C), and (D)), the defendant
shall participate in any program deemed appropriate to improve job readiness skills, which may include participation in a GED program or
Workforce Development Program, as directed by the probation officer.

While any financial penalties are outstanding (corrective treatment/satisfaction of sentence-18 USC § 3553(a)(2)(D)), the defendant shall
provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with access to any requested financial
information. The defendant is advised that the probation office may share financial information with the Financial Litigation Unit.

Based upon the nature and circumstances of the offense and to afford adequate deterrence to criminal conduct and protect the public from
further crimes (18 USC § 3553(a)(2)(B) and (C)), the defendant shall submit their person, residence, real property, place of business,
vehicle, and any other property under the defendant’s control to a search, conducted by any United States Probation Officer and such other
law enforcement personnel as the probation officer may deem advisable and at the direction of the United States Probation Officer, at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release, without a warrant. Failure to submit to such a search may be grounds for revocation. The defendant shall inform any other
residents that the premises and other property under the defendant's control may be subject to a search pursuant to this condition.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties
Judgment—Page 5 _ of 6

DEFENDANT: SCOTT T. HYDEN
CASE NUMBER: 13-CR-30259-MJR

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 150.00 $ 1,000.00 $

__. An Amended Judgment in a Criminal Case (AO 245C) will be entered

(1 The determination of restitution is deferred until
after such determination.

[) The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be

paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

[) Restitution amount ordered pursuant to plea agreement $ a

{1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(The court determined that the defendant does not have the ability to pay interest and it is ordered that:

Sq the interest requirement is waived for & fine CL] _ restitution.

fy

( the interest requirement for C fine O restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

 

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DEFENDANT: SCOTT T. HYDEN
CASE NUMBER: 13-CR-30259-MJR

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A [( Lump sum payment of $ ____ due immediately, balance due
O not Jater than _ , or

(] inaccordance [J C, O oD Cl &E,or (J F below; or
B (J Payment to begin immediately (may be combined with Cl :€; L] D,or (1 F below); or

C ( Payment in equal ___ €e.g., weekly, monthly, quarterly) installments of $ over a period of
a (e.g., months or years), to commence ___ (.g., 30 or 60 days) after the date of this judgment; or
D (J Paymentinequal | _ (e.g., weekly, monthly, quarterly) installmentsof $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (Payment during the term of supervised release will commence within _ (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  & Special instructions regarding the payment of criminal monetary penalties:

All criminal monetary penalties are due immediately and payable through the Clerk, U.S. District Court.

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be paid in equal monthly
installments of $35, or ten percent of his net monthly income, whichever is greater. The defendant shall pay any financial penalty
that is imposed by this judgment and that remains unpaid at the commencement of the term of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C) Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(1 The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

(1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
